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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FT. MYERS DIVISION

JANELLE RODRIGUEZ,

       Plaintiff,                                    CASE NO. 6:11-cv-00298-GKS-KRS
v.

NATIONWIDE CREDIT, INC.,

      Defendant.
_____________________________________/

                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, JANELLE RODRIGUEZ, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

all parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                                     RESPECTFULLY SUBMITTED,

Dated: March 30, 2011                            By: /s/ James Pacitti_______
                                                    James Pacitti (FBN: 119768)
                                                     Krohn & Moss, Ltd
                                                    10474 Santa Monica Blvd, Suite 401
                                                     Los Angeles, CA 90025
                                                    Phone: (323) 988-2400 x 230
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                                                    jpacitti@consumerlawcenter.com
                                                    Attorney for Plaintiff
                                                    JANELLE RODRIGUEZ


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                                    NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Ira Scot Silverstein, Attorney for Defendant, by the Court’s CM/ECF

system.



                                                            /s/ James Pacitti
                                                            James Pacitti
                                                            Attorney for Plaintiff




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                                  NOTICE OF SETTLEMENT
